Case 2:03-cr-20395-.]DB Document 75 Filed 04/27/05 Page 1 of 2 Page|D 81

F§'t.'__
IN THE UNITED sTATEs DISTRICT coURT
FoR THE WESTERN DISTRICT oF TENNESSEE 05 !>.FP 27 Ps”§ ry tr
WESTERN DIVISIoN
FHOBt_-HIFP` .. i`,>i “' ’C.
CL.EHK U 3 D' t J`t'
UNITED sTATEs oF AMERICA,

V\"D. O;': TN, N.IL;JVIPH!S
Plaintiff,

V.

No. 03 -203 95-B
DAVID FRA NKLIN,

Defendant.

ORDER OF REFERENCE

Before the court is Defendant’s Motion Requesting New Counsel filed on April 21 2005

Thls motlon is referred to the United States Magistrate Judge for determination Any

objectlons to the magistrate judge’s order shall be made within ten (10) days after servlce of the

order setting forth particularly those portions of the order objected to and the reasons for the
objections

IT rs So 0RDERE1) this L'lq\day Of April, 2005

 

. DANIEL BREEN

NIT STATES DISTRICT JUDGE

This document entered on the docket Sheet in co_(plisnco
with Fiule 55 ano/or 32(b) FRCrP on 27 0

 

UNITED S`TATE D"iSIC COUR - WESRNTE D'S'TRCT oFTENNESSEE

   

Notice of Distribution

ThiS notice confirms a copy of the document docketed as number 75 in
case 2:03-CR-20395 WaS distributed by faX, mail, or direct printing on
Apri127, 2005 to the parties listed.

 

 

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Sheila D. Brown

LAW OFFICE OF SHEILA D. BROWN
9160 Highway 64

Ste. 12

L.akeland7 TN 38002

Honorable J. Breen
US DISTRICT COURT

